Walter Lacy and Alois Lacy, 1 Petitioners, v. Commissioner of Internal Revenue, RespondentLacy v. CommissionerDocket No. 93334United States Tax Court39 T.C. 1100; 1963 U.S. Tax Ct. LEXIS 162; March 29, 1963, Filed *162 Decision will be entered for the respondent.  1. Dividend-Bargain Purchase -- Title Acquired Indirectly.  -- The Commissioner did not err in holding that the petitioner had received a dividend through a bargain purchase from petitioner's wholly owned corporation where he paid the purchase price and before the deal was closed, received a deed to the property.  It is not determinative that after the petitioner became the equitable owner of the stock but before certificates were issued in his name, the old stockholders and officers deeded the property to a former stockholder who then deeded it promptly to the petitioner, all in accordance with a prior agreement.2. Parol Evidence -- Income Tax Litigation.  -- Parol evidence is admissible in a tax case where the Commissioner was not involved as a party to the transactions giving rise to the deficiency, particularly where the written agreement was ambiguous or where the testimony relates to the consideration paid.  Thomas K. Hudson, Esq., for the petitioners.Jack Morton, Esq., for the respondent.  Murdock, Judge.  MURDOCK *1101  The Commissioner determined a deficiency of $ 57,759.75 in income tax of the petitioners for 1955 and one of $ 174.59 for 1956.  The only issue for decision is whether the Commissioner erred in holding that Walter, as a stockholder of Trinidad National Bank, constructively realized dividend income of $ 100,000 in 1955 resulting from his acquisition of the bank building, worth $ 133,000, by paying $ 33,000 to the bank.FINDINGS OF FACT.The petitioners, husband and wife, filed a joint income tax return for 1955 with the director of internal revenue for the district of Oklahoma.Cuckler, Brown &amp; Co. was a partnership consisting of Cuckler and Brown as equal partners.All of the 1,000 shares of stock of Trinidad National Bank of Trinidad, Colo. (hereafter called the bank), were owned by that partnership, or by the individual partners prior to their sale of that stock on July 16, 1955.  The bank*164  owned the land and building, lot 6, block 114, where it conducted its business (herein called the bank building) and was carrying that property on its books at $ 33,000 at the time of the sale.Cuckler and Brown gave a brokerage firm in Omaha exclusive rights to sell their stock in the bank and that firm introduced them to Lillian Briggs on or about July 6 or 7, 1955.  Lillian is the mother of Walter Lacy.  Cuckler and Brown made an offer to sell their bank stock for $ 475,000 to Lillian and Walter.  Cuckler discussed the assets of the bank with Lillian, who examined the assets and the books of the bank, after which the offer for the sale of the bank stock for $ 475,000 was accepted verbally.  Walter Lacy was present at some or all of these conferences.  Cuckler did not act on behalf of the bank in any of the negotiations with Lacy or his mother.These negotiations led to a written agreement dated July 16, 1955, between Walter Lacy as buyer, and Cuckler, Brown &amp; Co. as seller. It was in part as follows:1. Buyers agree to buy from Seller One Thousand Shares of the Present One Thousand Shares of Capital Stock of the Trinidad National Bank, Trinidad, Colorado, for the gross Sum of *165  Four Hundred Seventy-Five Thousand Dollars ($ 475,000.00) to be the total amount received by the Sellers for the Banking Corporation Stock and the Banking Building, other than the interest on the Bank Building Loan.-- THE ABOVE TO BE EFFECTIVE IN THE FOLLOWING MANNER**** --1. The sellers are to purchase the Trinidad National Bank Building from the Trinidad National Bank of Trinidad, Colorado at a purchase price of *1102  $ 33,000.00 -- with the said named $ 33,000.00 being furnished by the Buyer for his interest in holding the bank undivided profits the same as it were before the transaction.2. The buyer agrees to purchase the One Thousand Shares of the Capital Stock of the Trinidad National Bank (Without the Banking Bldg.) for the Amount of $ 375,000.00.3. The Buyer of the Stock of the Trinidad National Bank also enters into an agreement and contract to purchase the Bank Building for the sum of $ 100,000.00 to be paid in the following manner: Quarterly payments of $ 3,000.00 principal plus interest at 3% with there being eleven such payments and the balance becoming due on the twelfth payment or at the end of the third year.4. The Banking Corporation is to procure a long*166  term lease for the Banking Building and this lease is to be used with the Bank Building to effect a loan on the building in the amount of $ 100,000.00.Lacy obtained a loan of $ 375,000 from an Oklahoma bank by agreeing to pledge the bank stock being purchased.  He paid that amount to the sellers. He needed an additional $ 100,000 to complete the purchase from Cuckler, Brown &amp; Co. and, to accommodate Lacy, the provisions relating to the bank building were inserted in the agreement.The minutes of a meeting of "stockholders" of the bank held at 1:30 p.m. on July 18, 1955, in which the stock was voted by Cuckler, Brown, and their nominees, records the adoption of a motion to sell the bank building to Cuckler, Brown &amp; Co. for $ 33,000 to be paid in cash by the purchaser.  Cuckler, Brown &amp; Co. did not pay the $ 33,000.The minutes of a board of directors meeting at 2 p.m. on July 18, 1955, records the resignation of the old Cuckler and Brown board and officers and the election of a new Lacy board and officers.Lacy paid $ 33,000 to the bank, on July 16, 1955, to take the place of the bank building carried on its books at that amount and thus leave the total bank book-assets unchanged. *167  A deed for the bank building from the bank to Cuckler, Brown &amp; Co. was executed on July 18, 1955.  Cuckler, Brown &amp; Co. entered into an agreement with the bank, dated July 19, 1955, leasing the bank building to the bank for 20 years at $ 1,000 a month.  A deed for the bank building from Cuckler, Brown, &amp; Co. to Walter Lacy was executed on July 20, 1955.  Lacy then pledged the bank building as collateral for a $ 100,000 loan from a Denver bank, which amount he then paid to Cuckler, Brown, &amp; Co. on or about July 26, 1955, to complete the $ 475,000, which he owed under the contract of July 16, 1955.Lacy reduced the rent on the bank building by an agreement dated August 10, 1955, and conveyed the bank building to the bank on December 19, 1957, for $ 133,000.Cuckler, Brown &amp; Co. never received any rent, any "quarterly payments of $ 3,000.00 principal," or any "interest at 3%" relating to the bank building.  Lacy paid for the Federal documentary stamps placed on the two deeds.*1103  The transfer of the bank building to Cuckler, Brown &amp; Co. was a temporary measure to accommodate Lacy by protecting Cuckler, Brown &amp; Co. for a few days until Lacy could complete arrangements for the *168  $ 100,000 loan from the Denver bank, secured by a pledge of the bank building, with which to complete his cash payment of $ 475,000 to Cuckler, Brown, &amp; Co. for the bank stock.The purpose of the transactions described above was to enable Lacy to purchase the 1,000 shares of bank stock for $ 475,000.The Commissioner, in determining the deficiency against the Lacys, added $ 100,000 to income as a dividend and explained:(a) It is determined that as a stockholder of Trinidad National Bank, Trinidad, Colorado you constructively realized dividend income of $ 100,000 in 1955 resulting from the purchase from the bank of property worth $ 133,000 for a consideration of $ 33,000.  Accordingly, taxable income is increased in the amount of $ 100,000.The fair market value of the bank building in July 1955 was $ 133,000.  The evidence does not show that the bank did not have more than $ 100,000 surplus and undivided profits at that time, as determined by the Commissioner.The stipulation of facts is incorporated herein by this reference.OPINION.The only question for decision is whether Lacy bought the bank building from Cuckler, Brown &amp; Co. for $ 100,000 or whether he bought it indirectly from*169  the bank for $ 33,000.  He agrees that the property was worth $ 133,000 and does not argue that the bank had less than $ 100,000 of earned surplus and undivided profits. Furthermore, each of those facts is inherent in the Commissioner's determination, is presumed to be correct, and has not been disproven.  The Commissioner concedes that he has taken inconsistent positions in taxing this dividend to Lacy and to Cuckler and Brown.The petitioner does not dispute that a purchase by a stockholder from the corporation at a bargain price would result in a dividend to the stockholder to the extent of the excess of the fair market value of the property over the amount paid for it.  He contends that Cuckler, Brown &amp; Co., not he, purchased the bank building and owned the stock at that time and he paid its full value, $ 133,000, to acquire that property.Counsel for Lacy raise two points in their reply brief not raised in the Cuckler and Brown cases.  One is that the ban on parol evidence to vary the terms of a written instrument apply and the other, never previously raised, is that the Commissioner is barred from introducing any evidence inconsistent with the written stipulation filed in this*170 *1104  case.  The stipulation provides "that either party may introduce other and further evidence not inconsistent with the facts and exhibits herein stipulated." Lacy counsel claim that Cuckler's parol evidence is inconsistent with exhibit 3, the contract of July 16, 1955.  The stipulation is that that agreement was entered into and the deeds were executed.It is proper in tax cases to look through form to substance, if that is necessary, in order to determine the correct tax consequences of the acts of each taxpayer and those dealing with him in the transactions giving rise to the taxes.  . Cf.  . The tax effect of a whole transaction should not be hidden by niceties of title or conveyancing.  Cf.  ; ; , affirming ; .*171 Also it is important in these cases that the Cuckler and Brown cases, on the one hand, and this Lacy case, should be decided upon the same facts, since they both arise from the same transactions.  This cannot be done unless Cuckler's testimony is used in each.  All counsel agreed with the Court, at the start of the single trial, that all evidence received during that trial would apply in all of the cases.  The Commissioner called both Cuckler and Lacy and all counsel had the opportunity to cross-examine each.The parol evidence rule to which the Lacy counsel refer applies between the parties or privies to a written agreement, but a different situation is presented here.  Each separate proceeding here is between a taxpayer on the one side and the Commissioner of Internal Revenue on the other.  The Commissioner was not a party to the agreement of July 16, 1955, and Lacy cannot invoke the parol evidence rule against him.  , affirming a B.T.A. Memorandum Opinion; , affd.  ; ;*172 ; Cf.  . This is particularly true where the parol evidence relates to the consideration.  , and cases there cited.Furthermore, that rule does not apply where there is ambiguity in the written instrument. ; ; , affd.  ;  The first statement in the agreement of July 16, 1955, is that "Buyers agree to buy from Seller One Thousand Shares of the Present One Thousand Shares of Capital Stock of the Trinidad National Bank, Trinidad, Colorado, for the gross Sum of Four Hundred Seventy-Five Thousand Dollars ($ 475,000.00)" and that portion of the sentence *1105  would indicate that the*173  only subject of the sale was the 1,000 shares of bank stock and the purchase price of that stock was $ 475,000.  The remaining portion of the sentence, quoted in part above, may be consistent with the first part or may introduce ambiguity, for it is that the $ 475,000 is "to be the total amount received by the Sellers for the Banking Corporation Stock and the Banking Building, other than the interest on the Bank Building Loan." The "Sellers" did not own or hold title to "the Banking Building" and were in no position on July 16, 1955, to sell it.  The 1,000 shares being all of the outstanding stock of the bank would give the buyer control over and indirect ownership of, all assets of the bank, including the "Bank Building." The entire sentence, standing alone, could be an effort to make sure that the bank building remained a part of the bank assets and thus ownership of all of the bank stock would give the buyer all that he wanted for his $ 475,000.  But what did it mean when read with the next provisions?The reference to "the Bank Building Loan" is not clarified in any way in the written agreement. The doubts arising from the first sentence, discussed above, are intensified by the*174  next four numbered paragraphs according to which the sellers are first to buy the "Bank Building" from what had been their wholly owned corporation, with "the Buyer," who wants to hold "the bank undivided profits the same as it were before the transaction," paying the $ 33,000 "purchase price" to the bank.  Why the buyer, who was borrowing $ 475,000, would want to part with an additional $ 33,000 for that purpose (which would in no way benefit the sellers and which Lacy says is inconsistent with the stated price of $ 475,000) is not clear.  Next the buyer is to buy the bank building from the sellers for $ 100,000 and the agreement spells out a method of payment which both buyer and sellers agree was never carried out.  If Lacy could have raised and paid $ 475,000 for the stock without pledging the bank building he could have avoided the $ 33,000 payment, the title transfers of the bank building, the $ 146.30 cost of documentary stamps, and all of the deficiencies in these cases based on the transfers of the bank building.  The court concludes that the agreement of July 16, 1955, is sufficiently ambiguous to permit parol evidence to explain just what the parties intended and what the*175  $ 475,000 was paid for.Lacy's counsel stated, when Lacy was on the stand, that "so far as Mr. Lacy is concerned he doesn't care to give the Court an explanation of the contract before the Court" (Ex. 3).  Nevertheless, Lacy testified that Cuckler raised the purchase price from $ 475,000 to $ 508,000 by demanding the $ 33,000 payment to the bank.  This testimony of Lacy is inconsistent with the July 16 contract but it is clear that Cuckler and Brown never received more than the $ 475,000, which that contract provided.  Lacy certainly did not intend to have Cuckler and *1106  Brown benefit from his $ 33,000 payment to the bank.  There is no explanation in the contract of why Lacy would pay $ 33,000 to the bank or why he would have the two deeds transferring title first to Cuckler, Brown &amp; Co. and 2 days later transferring title to him, except to enable him to use that real estate to obtain a loan of the $ 100,000 which he needed to make up the $ 475,000 purchase price. Cuckler's testimony explains the purpose of the written contract and the above-mentioned provisions, is reasonable and persuasive, and is needed to decide these cases properly.  The belated objection in his reply*176  brief on the basis of the stipulation has little to recommend it and there is better reason to reject it.Cuckler gave the Court an explanation which seems reasonable and is persuasive.  It appears from his testimony and from other evidence applicable to all cases that Lacy (perhaps with the assistance of his mother) had arranged with an Oklahoma bank for a loan of $ 375,000, with the bank stock to be pledged as security; he needed an additional $ 100,000 to complete the purchase of the stock; and all references to the "Bank Building" were placed in the agreement at Lacy's request solely to give him time and means to complete arrangements with a Denver bank for a loan of $ 100,000 on which he would pledge the "Bank Building" as security.  Lacy paid $ 33,000 into the Trinidad Bank to keep its book assets unchanged in amount so that the lender of the $ 375,000 might not complain.  Cuckler, Brown &amp; Co. held title to the bank building for 2 days as security for the balance owed them and only until Lacy completed arrangements to borrow the balance he owed Cuckler and Brown.  It is reasonably clear that Cuckler and Brown did not want to own the bank building and that Lacy had no intention*177  to permit them to own it.  The complicated provisions in the July 16, 1955, agreement, all placed there at Lacy's insistence and for his benefit, should not conceal the fact that what Cuckler and Brown sold for $ 475,000 was their bank stock. Cuckler and Brown started off with 1,000 shares of bank stock which they desired to sell for $ 475,000, they parted with that stock and nothing more, and they received $ 475,000 and nothing more.All acts performed by the bank "stockholders," officers, and directors, after Lacy acquired beneficial ownership and control of all of the bank stock on July 16, 1955, in carrying out the terms of the agreement of July 16, 1955, with respect to the bank building, are chargeable to Lacy who then alone was in position to require those acts to be performed.  , and cases there cited.  Cuckler and Brown were not the beneficial owners of the stock on July 18, 1955, when title to the bank building was transferred to them and had no right to bind the corporation except to carry out Lacy's directions.*1107  The Commissioner determined that Lacy received a taxable dividend of $ 100,000 from*178  the bank through its bargain purchase of the bank building while he was a stockholder of the bank, indeed the sole stockholder. Sec. 301, 1954 Code.  Cf.  . The bargain was that he paid the bank only $ 33,000 and acquired a property having a fair market value of $ 133,000.  Lacy became the equitable owner of the stock when he made the cash payment of $ 375,000 on July 16 and, although he took an indirect route to acquire title to the real estate, he paid the purchase price on July 16, 1955, and acquired title to the real estate on July 20, 1955.  The intervening steps can be attributed to no one but Lacy.  The evidence does not show that the Commissioner erred in any respect in making his determination.Decision will be entered for the respondent.  Footnotes1. This case and those of Harold W. and Mary E. Cuckler, Royden and Doris Brown, Docket Nos. 87982 and 93268, and Trinidad National Bank, Docket No. 93182, were tried together under an agreement of all counsel that all testimony and evidence introduced at the trial except separate written signed stipulations filed in each case, would apply to and be part of the record in each case.  All counsel were permitted to question all witnesses.↩